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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     MARIO PENALOZA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. Cr. F 10-212 LJO
12                             Plaintiff,                 STIPULATED MOTION AND [lodged] ORDER
                                                          TO REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   MARIO PENALOZA,                                      RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, MARIO PENALOZA, by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Karen A. Escobar, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On May 20, 2011, this Court sentenced Mr. Penaloza to 147 months;

25             3.         His total offense level was 37, his criminal history category was I, the resulting

26   guideline range was 210 to 262 months, and he received a reduction from the low end of the

27   applicable guideline range on the government’s motion;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Penaloza was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Penaloza’s total offense level has been reduced from 37 to 35, and his
5    amended guideline range is 168 to 210 months. A reduction to a comparable point relative to the
6    new guideline range yields a sentence of 117 months, but he was subject to a mandatory
7    statutory minimum term of 120 months;
8              6.         Accordingly, the parties request the Court enter the order lodged herewith
9    reducing Mr. Penaloza’s term of imprisonment to a total term of 120 months.
10   Respectfully submitted,
11   Dated: March 5, 2015                                 Dated: March 5, 2015
12   BENJAMIN B. WAGNER                                   HEATHER E. WILLIAMS
     United States Attorney                               Federal Defender
13
14   /s/ Karen A. Escobar                           /s/ David M. Porter
     KAREN A. ESCOBAR                                      DAVID M. PORTER
15   Assistant U.S. Attorney                               Assistant Federal Defender
16   Attorney for Plaintiff                               Attorney for Defendant
     UNITED STATES OF AMERICA                             MARIO PENALOZA
17
18                                                       ORDER
19             This matter came before the Court on the stipulated motion of the defendant for reduction
20   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
21             The parties agree, and the Court finds, that Mr. Penaloza is entitled to the benefit
22   Amendment 782, which reduces the total offense level from 37 to 35, resulting in an amended
23   guideline range of 168 to 210 months. A reduction to a comparable point relative to the new
24   guideline range yields a sentence of 117 months, but he was subject to a mandatory statutory
25   minimum term of 120 months.
26             IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2011 is
27   reduced to a term of 120 months.
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     Stipulation and Order Re: Sentence Reduction            2
       Case 1:10-cr-00212-DAD Document 130 Filed 03/06/15 Page 3 of 3


1              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
2    remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
3    reduction in sentence, and shall serve certified copies of the amended judgment on the United
4    States Bureau of Prisons and the United States Probation Office.
5              Unless otherwise ordered, Mr. Penaloza shall report to the United States Probation Office
6    within seventy-two hours after his release.
7
     IT IS SO ORDERED.
8
9         Dated:         March 6, 2015                        /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
